      Case 4:24-cv-01267 Document 19 Filed on 07/23/24 in TXSD Page 1 of 1
                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                            UNITED STATES DISTRICT COURT                                  July 23, 2024
                             SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                 HOUSTON DIVISION


FREDERICK MCCULLOUGH, SR.,                      §
                                                §
        Plaintiff,                              §
                                                §
VS.                                             §   CIVIL ACTION NO. 4:24-CV-01267
                                                §
MIDFIRST BANK,                                  §
                                                §
        Defendant.                              §

                                  ORDER ABATING CASE

       Came to be considered the parties’ agreed joint motion to abate case (Dkt. No. 17). The

Court finds that the motion should be GRANTED.

       It is, therefore, ORDERED that all the deadlines and settings in this case are hereby abated

for sixty (60) days from today’s date and that the case will be automatically reinstated upon

expiration of the abatement period.

       It is so ORDERED.

       SIGNED on July 23, 2024, at Houston, Texas.


                                                     _________________________________
                                                     Kenneth M. Hoyt
                                                     United States District Judge




1/1
